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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                             April 15, 2025
                          _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
 MARTINA O. OLUPITAN, MHA,

        Plaintiff - Appellant,

 v.                                                           No. 25-6055
                                                       (D.C. No. 5:24-CV-00349-G)
 STATE OF OKLAHOMA EX REL. THE                                (W.D. Okla.)
 BOARD OF REGENTS OF THE
 UNIVERSITY OF OKLAHOMA, et al.,

        Defendants - Appellees.
                       _________________________________

                                       ORDER
                          _________________________________

        This matter is before the court following the opening of this appeal. A review of

the district court docket reveals two pending motions: Plaintiff’s Motion to Alter

Judgment Order Denying Reconsideration of ECF Permissions [DC ECF No. 50] filed on

April 2, 2025, and Plaintiff’s Motion to Alter Judgment Order Dismissal Without

Prejudice, and to Exercise Supplemental Jurisdiction Over State-Law Claims [DC ECF

No. 52] filed on April 7, 2025. Both motions appear to assert error with respect to the

district court’s April 1, 2025 Order. Judgment entered on April 2, 2025. The notice of

appeal was filed by Plaintiff Martina O. Olupitan on April 14, 2025.

        Plaintiff’s motions [DC ECF Nos. 50, 52] were filed within 28 days after entry of

the order and judgment being appealed. As a result, the notice of appeal will become
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    Appellate Case: 25-6055 Document: 2-1          Date Filed: 04/15/2025 Page: 2



effective when the district court enters an order disposing of the pending motions. See

Fed. R. App. P. 4(a)(4)(A), (B).

       Accordingly, this appeal is ABATED pending the district court’s disposition of the

pending motions. When the district court enters an order disposing of the pending

motions [DC ECF Nos. 50, 52], the clerk of the district court is directed to supplement

the preliminary record in accordance with 10th Cir. R. 3.2(B).


                                             Entered for the Court



                                             CHRISTOPHER M. WOLPERT, Clerk




                                            2
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      Appellate Case: 25-6055 Document: 2-2             Date Filed: 04/15/2025 Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                          Jane K. Castro
Clerk of Court                                                              Chief Deputy Clerk
                                        April 15, 2025


Martina O. Olupitan
P.O. Box 950742
Oklahoma City, OK 73195

RE:        25-6055, Olupitan v. The Board of Regents of the University of Oklahoma,
           et al
           Dist/Ag docket: 5:24-CV-00349-G

Dear Appellant:

Enclosed please find an order issued today by the court.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court



cc:        John Charles Curtis III
           Tina Sharell Ikpa
           Martin Daniel Weitman



CMW/art
